               Case 1:24-cv-00941-JKB Document 46 Filed 06/19/24 Page 1 of 1
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June 19, 2024


VIA CM/ECF

The Honorable James K. Bredar
U.S. District Court for the District of Maryland
Garmatz Federal Courthouse
101 West Lombard St.
Baltimore, Maryland 21201

         Re:         In the Matter of the Petition of Grace Ocean Private Limited et al for Exoneration
                     from or Limitation of Liability, Civil Case No. 1:24-cv-00941-JKB

Dear Judge Bredar,

       We, along with our co-counsel Blank Rome LLP, represent Petitioners, Grace Ocean Private
Limited and Synergy Marine Pte Ltd, in the above-referenced matter.

       I am writing with regard to the hearing set for tomorrow, June 20, 2024 at 10:00 a.m. in
Courtroom 5A. I will be in attendance at the hearing, but my co-counsel, William Bennett of Blank
Rome, is presently in Singapore and as such we respectfully request that he be permitted to attend
tomorrow’s hearing via telephone.

         Thank you in advance for your consideration.

                                                                    Respectfully submitted,




                                                                    Robert B. Hopkins
RBH:reg
cc: All counsel of record (by ECF)




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